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                                                                                                2006 Mar-24 AM 11:38
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION



UNITED STATES OF AMERICA


VS.                                                                 CR 05-PT-61-S

JEWELL C. “CHRIS” McNAIR
GRADY R. “ROLAND” PUGH
JOSEPH E. “EDDIE” YESSICK
ROLAND PUGH CONSTRUCTION, INC.
BOBBY J. RAST
DANIEL B. “DANNY” RAST,
RAST CONSTRUCTION, INC.
FLOYD W. “PAT” DOUGHERTY
F. W. DOUGHERTY ENGINEERING
& ASSOCIATES, INC.

               Defendants

                                             ORDER

       This cause comes on to be heard on Defendants Bobby J. Rast and Daniel B. “Danny”

Rast’s Objections to Magistrate Judge’s Report and Recommendation filed on March 3, 2006

regarding defendants’ Motion to Strike Portions of Second Superseding Indictment filed on

September 29, 2005, Motion to Dismiss filed on August 9, 2005 and Motion to Dismiss Second

Superceding Indictment filed on September 26, 2005.

       The court concludes that the indictment should be redacted to exclude paragraphs 3 and 4

under the caption “THE JEFFERSON COUNTY ENVIRONMENTAL SERVICES

DEPARTMENT.” The paragraphs should be renumbered for consistency.

       These defendants and other defendants have over-emphasized certain “quid pro quo”

language that is used in Medley and other cited cases. The court will address that issue in a
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separate opinion.

       The court concludes that the indictment is not vague, confusing and misleading. The

alleged quid pro quo is the alleged corrupt intent to influence or be influenced in connection

with the JCESD sewer construction contracting program. The indictment tracks the language of

the statute and specifically lists payments and overt acts.

       The court otherwise adopts the Report and Recommendation of the magistrate judge and

the subject objections are OVERRULED except as stated above.

       DONE and ORDERED this the 24th day of March, 2006.




                                                 ROBERT B. PROPST
                                       SENIOR UNITED STATES DISTRICT JUDGE
